 Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 1 of 37




   EXHIBIT 114
Message from D. Pipes
     to Plaintiff
2/27/2021            Case 2:19-cv-05030-JDW Document     111-4
                                                Mail - Lisa        Filed
                                                            Barbounis       03/02/21 Page 2 of 37
                                                                      - Outlook



       Re: DC
       Daniel Pipes <pipes@meforum.org>
       Tue 4/16/2019 9:49 PM
       To: Lisa Barbounis <Barbounis@meforum.org>


            This message was sent from outside the company by someone with a display name matching a user in your organisation.
            Please do not click links or open attachments unless you recognise the source of this email and know the content is safe.


       Lisa,

       A few responses:

             1. You went to DC for activities basically unrelated to MEF's mission.
             2. DC has a lot of editors, MEF staff, and MEFEF grantees; they are who you should be focused on.
             3. I doubt if Posobiec is someone for us to associate with.
             4. Please don't surprise me with your travels, starting with indications on the calendar.

       More broadly, I am not convinced that you are focused on the tasks we agreed upon back
       in November, such as tending to MEFO and cultivating editors to improve our publishing
       record. Please show me that you are.


       On Tue, Apr 16, 2019 at 9:34 AM Lisa Barbounis <Barbounis@meforum.org> wrote:
        Dr. Pipes,

            I met up with Jack Posobiec over the weekend and he asked to have Sydney Watson, a friend, on
            OANN. As such he invited me to the studio. I took that as an opportunity for me meet people there
            so that we (MEF) can build relationships with them and eventually have them book MEF
            staff/fellows. It has nothing to do with anything in Europe. This is why I brought it up on the
            project directors call.

            My apologies for not clearing it with you. I was treating it as a work from home day. The OANN time
            is at 1pm which I was considering a lunch break. I have been working on MEF responsibilities since
            8:30am and plan to work the entire day.




            Get Outlook for iOS




https://outlook.office.com/mail/Barbounis@meforum.org/search/id/AAMkAGI0ZTI5OGNkLWJjYTEtNDhkMi1hOGI4LWQzMTY5ZmQzMmNkYwBGAAA…            1/2
2/27/2021             Case 2:19-cv-05030-JDW Document     111-4
                                                 Mail - Lisa        Filed
                                                             Barbounis       03/02/21 Page 3 of 37
                                                                       - Outlook

            From: Daniel Pipes <pipes@meforum.org>
            Sent: Monday, April 15, 2019 6:49 PM
            To: Lisa Barbounis
            Subject: DC



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               organisation. Please do not click links or open attachments unless you recognise the source of this email and know the
               content is safe.


            Lisa,

            Going over the PD call today with me, Gregg mentioned you're going to DC tomorrow.

            I have two concerns. You did not clear this with me. It seems to me that you're getting too caught up
            with the Europe topic at the expense of your internal MEF work.

            Your response?




https://outlook.office.com/mail/Barbounis@meforum.org/search/id/AAMkAGI0ZTI5OGNkLWJjYTEtNDhkMi1hOGI4LWQzMTY5ZmQzMmNkYwBGAAA…            2/2
 Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 4 of 37




   EXHIBIT 115
  Correspondence
between Plaintiff and
    T. Robinson
       Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 5 of 37

This transcript was exported on Feb 23, 2021 - view latest version here.


Tommy:
Lisa, what dates are you in the UK, babe? I fuckin' need help. (laugh) I need to do a proper campaign. I
want an election campaign. I've been speaking with Ezra, as well. I just need people who can help. Most
people I have are, are not intelligent enough. I need, um, even just taking with media, taking requests,
answering them. Um, I don't know how long you're here for, don't know what your plans are. I don't
know if you'd like to stay longer. I don't know if you want to stay and help and be part of my campaign
team.
        I don't know what you're situation with, with Middle East, foreign, whether they'd allow you a
week out, two weeks out, three weeks out. I don't know! You tell me. (laugh) I'm just puttin' it out to
you, babe. I'm sat here, I'm doing everything I can, I'm gonna get this bus, and I'm gonna fuckin' ... I want
to absolutely smash this. [inaudible 00:00:50] to get my head straight. I wanna go out and nonstop for
the next four weeks fuckin' own the Northwest of Manchester.
      But that needs organization, which I don't have any of, and planning, which I don't have any of,
and management, which I don't have any of. Let me know, babe.




Tommy Robinson Invite LB to Campaign (Completed 02/22/21)                                       Page 1 of 1
Transcript by Rev.com
  Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 6 of 37




      EXHIBIT 116
        WhatsApp
Communications between
Plaintiff and T. Robinson
                   Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 7 of 37
                                                                                 From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                 To: 447729634251@s.whatsapp.net +44 7729 634251

                                                                                 I can do press, comms, writing, organization, etc.

                                                                                    Participant        Delivered     Read              Played
                                                                                    447729634251@ 4/18/2019
                                                                                    s.whatsapp.net  11:10:58
                                                                                    +44 7729 634251 AM(UTC-4)


                                                                                 Status: Sent
                                                                                 Platform: Mobile

                                                                                                                            4/18/2019 11:10:57 AM(UTC-4)




                                                                            From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                            To: 447729634251@s.whatsapp.net +44 7729 634251

                                                                            We have our gala on the 19th that I have to be here for.

                                                                               Participant          Delivered       Read              Played
                                                                               447729634251@s 4/18/2019
                                                                               .whatsapp.net +44 11:11:58 AM(UTC-
                                                                               7729 634251       4)


                                                                            Status: Sent
                                                                            Platform: Mobile

                                                                                                                            4/18/2019 11:11:57 AM(UTC-4)




447729634251@s.whatsapp.net +44 7729 634251
Attachments:




 Size: 55236
 File name: dd8f16ed-ab9c-4fd3-95ee-6b3b28ad57bc.opus
 Path:
 https://mmg.whatsapp.net/d/f/AvPdywYiaOFLO50E2I9VFPLagcSjNCMKun5mc5_a2Yv
 X.enc
 dd8f16ed-ab9c-4fd3-95ee-6b3b28ad57bc.opus

Platform: Mobile

                                        4/18/2019 11:12:30 AM(UTC-4)




                                                                               From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                               To: 447729634251@s.whatsapp.net +44 7729 634251

                                                                               I have people that will take off and canvas for you.

                                                                                  Participant         Delivered      Read             Played
                                                                                  447729634251@ 4/18/2019
                                                                                  s.whatsapp.net  11:13:12
                                                                                  +44 7729 634251 AM(UTC-4)


                                                                               Status: Sent
                                                                               Platform: Mobile

                                                                                                                            4/18/2019 11:13:11 AM(UTC-4)




                                                                                                                                                           561
                   Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 8 of 37
                                                                          From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                          To: 447729634251@s.whatsapp.net +44 7729 634251

                                                                          FYI. For now because of Gregg I’m keeping it quite from MEF.

                                                                             Participant             Delivered           Read           Played
                                                                             447729634251@s. 4/18/2019 11:14:02
                                                                             whatsapp.net +44 AM(UTC-4)
                                                                             7729 634251


                                                                          Status: Sent
                                                                          Platform: Mobile

                                                                                                                                4/18/2019 11:14:00 AM(UTC-4)




                                                        From: 12159102154@s.whatsapp.net Lisa (owner)
                                                        To: 447729634251@s.whatsapp.net +44 7729 634251

                                                        I’ll change my flight out today. Where are we going to be. I would need to book
                                                        hotels

                                                           Participant                   Delivered               Read               Played
                                                           447729634251@s.wha 4/18/2019 11:19:54
                                                           tsapp.net +44 7729 AM(UTC-4)
                                                           634251


                                                       Status: Sent
                                                       Platform: Mobile

                                                                                                                                4/18/2019 11:19:53 AM(UTC-4)




447729634251@s.whatsapp.net +44 7729 634251
Attachments:




 Size: 19905
 File name: fd517ebe-f6db-456d-93dc-4cc1433c522d.opus
 Path:
 https://mmg.whatsapp.net/d/f/Akhp4n7brs6wAsooOMyHSgLvsmRlqrwAl1OkMOli4CyX
 .enc
 fd517ebe-f6db-456d-93dc-4cc1433c522d.opus

Platform: Mobile

                                         4/18/2019 11:20:09 AM(UTC-4)




                                                            From: 12159102154@s.whatsapp.net Lisa (owner)
                                                            To: 447729634251@s.whatsapp.net +44 7729 634251

                                                            I fly into London on the 30th. I’ll change my flight to fly out of Manchester.

                                                               Participant                   Delivered            Read               Played
                                                               447729634251@s.wh 4/18/2019 11:20:55
                                                               atsapp.net +44 7729 AM(UTC-4)
                                                               634251


                                                           Status: Sent
                                                           Platform: Mobile

                                                                                                                                4/18/2019 11:20:53 AM(UTC-4)




447729634251@s.whatsapp.net +44 7729 634251

Ok great
Status: Read
Platform: Mobile

                                         4/18/2019 11:25:02 AM(UTC-4)




                                                                                                                                                               562
                   Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 9 of 37
447729634251@s.whatsapp.net +44 7729 634251

It’s on
Status: Read
Platform: Mobile

                                          4/18/2019 11:25:06 AM(UTC-4)




                                                                                    From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                    To: 447729634251@s.whatsapp.net +44 7729 634251

                                                                                    Who is the campaign manager?

                                                                                        Participant       Delivered      Read            Played
                                                                                        447729634251 4/18/2019
                                                                                        @s.whatsapp. 11:25:24
                                                                                        net +44 7729 AM(UTC-4)
                                                                                        634251


                                                                                    Status: Sent
                                                                                    Platform: Mobile

                                                                                                                             4/18/2019 11:25:23 AM(UTC-4)




447729634251@s.whatsapp.net +44 7729 634251
Attachments:




 Size: 15438
 File name: 5968e695-8bac-4d9b-ac58-fe8800416ed8.opus
 Path: https://mmg.whatsapp.net/d/f/Aj7J1HlHgWbvWhzk1zNmmzWL_1zL-
 AIm9GjCXDt-5L3F.enc
 5968e695-8bac-4d9b-ac58-fe8800416ed8.opus

Platform: Mobile

                                          4/18/2019 11:33:55 AM(UTC-4)




                                                                         From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                         To: 447729634251@s.whatsapp.net +44 7729 634251

                                                                         Have Ezra send me his info so we can gameplan ASAP.

                                                                            Participant            Delivered          Read            Played
                                                                            447729634251@ 4/18/2019
                                                                            s.whatsapp.net  11:41:54
                                                                            +44 7729 634251 AM(UTC-4)


                                                                         Status: Sent
                                                                         Platform: Mobile

                                                                                                                             4/18/2019 11:41:53 AM(UTC-4)




                                                                                    From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                    To: 447729634251@s.whatsapp.net +44 7729 634251

                                                                                    Wtf is this. Did you put this out?

                                                                                        Participant       Delivered      Read            Played
                                                                                        447729634251 4/18/2019
                                                                                        @s.whatsapp. 1:35:55
                                                                                        net +44 7729 PM(UTC-4)
                                                                                        634251


                                                                                    Status: Sent
                                                                                    Platform: Mobile

                                                                                                                              4/18/2019 1:35:53 PM(UTC-4)




                                                                                                                                                            563
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   EXHIBIT 117
Message from D. Pipes
     to Plaintiff
Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 11 of 37
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Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 13 of 37
Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 14 of 37
Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 15 of 37
 Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 16 of 37




   EXHIBIT 118
Message from D. Pipes
     to Plaintiff
                  Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 17 of 37
From: Lisa Barbounis
Sent: Monday, April 29, 2019 11:30 AM EDT
To: Daniel Pipes <pipes@meforum.org>; Marc Fink <fink@meforum.org>
Subject: RE: LP; Tommy Robinson; Defense; Rekindled Contempt Charge
I do think given the amount he is spending/has spent on legal fees it is necessary. Plus, if he wins it is a win for us.




From: Daniel Pipes <pipes@meforum.org>
Sent: Sunday, April 28, 2019 8:46 PM
To: Marc Fink <fink@meforum.org>
Cc: Lisa Barbounis <Barbounis@meforum.org>
Subject: Re: LP; Tommy Robinson; Defense; Rekindled Contempt Charge

   This message was sent from outside the company by someone with a display name matching a user in your organisation. Please do not click links or open
   attachments unless you recognise the source of this email and know the content is safe.
I am reluctant. But if you both are convinced this is necessary, I am willing to fund the £10,000.



On Sun, Apr 28, 2019 at 5:37 PM Marc Fink <fink@meforum.org> wrote:


  Seems Tommy is actually desperate for us to pay the 10K GBP?
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   EXHIBIT 119
Message from Pipes to
      Plaintiff
Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 19 of 37
Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 20 of 37




      EXHIBIT 120
     Query from The
       Guardian
            Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 21 of 37

Guardian enquiry re Tommy Robinson
Josh Halliday <josh.halliday@theguardian.com>
Thu 5/16/2019 3:11 AM
To: Daniel Pipes Gmail <daniel.pipes@gmail.com>; Gregg Roman <Roman@meforum.org>; Lisa Barbounis
<Barbounis@meforum.org>
Morning all,

I'm getting in touch as we are looking to run a piece on Tommy Robinson's MEP election campaign
and I am seeking clarification on the role of Lisa Barbounis, who has been present on the campaign
trail for about two weeks. I would be grateful if you could help with the following:

• What is Ms Barbounis' role on Tommy Robinson's campaign?
• Has she provided any advice or other services to the campaign?
• Who funded Ms Barbounis' travel and accommodation costs for her time on the campaign?
• Has the Middle East Forum made any financial or other donation to Tommy Robinson's
campaign?
• Is the Middle East Forum still funding Tommy Robinson's legal fees in his ongoing contempt of
court case?

I would be grateful for a response by 10pm UK time (6pm EDT) today.

Many thanks,
Josh
--
Josh Halliday
North of England correspondent
Guardian News & Media
-----
josh.halliday@theguardian.com
-----
twitter: @joshhalliday
------




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London N1 9GU
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Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 23 of 37




   EXHIBIT 121
Message from Plaintiff
     to D. Pipes
               Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 24 of 37
From: Lisa Barbounis <barbounis@meforum.org>
Sent: Thursday, May 16, 2019 5:02 AM EDT
To: Daniel Pipes <pipes@meforum.org>; Gregg Roman <Roman@meforum.org>
Subject: Fwd: Guardian enquiry re Tommy Robinson
Sending this to just you and Gregg.

I was on l, and requested in writing, a vacation with my family to England and Ireland. I stopped in England to see Tommy
and introduce my family to him. I went to 3 of his rallies so they could see what it was like. I am home.

As you know I do occasionally volunteer my time to help him with little things such as answering emails on TR.news and the
Press box for votetommyrobinson.com. I use my maiden name specifically to keep things separate.

Neither MEF nor Tommy paid me any money for my official family vacation. That includes travel and accommodation.
Anything I have done for Tommy is strictly on a personal volunteer basis.


     Resent-From: <Barbounis@meforum.org>
     From: Josh Halliday <josh.halliday@theguardian.com>
     Date: May 16, 2019 at 3:11:12 AM EDT
     To: Daniel Pipes <daniel.pipes@gmail.com>, Gregg Roman <Roman@meforum.org>, Lisa Barbounis
     <Barbounis@meforum.org>
     Subject: Guardian enquiry re Tommy Robinson


     Morning all,

     I'm getting in touch as we are looking to run a piece on Tommy Robinson's MEP election campaign and I am
     seeking clarification on the role of Lisa Barbounis, who has been present on the campaign trail for about two
     weeks. I would be grateful if you could help with the following:

     • What is Ms Barbounis' role on Tommy Robinson's campaign?
     • Has she provided any advice or other services to the campaign?
     • Who funded Ms Barbounis' travel and accommodation costs for her time on the campaign?
     • Has the Middle East Forum made any financial or other donation to Tommy Robinson's campaign?
     • Is the Middle East Forum still funding Tommy Robinson's legal fees in his ongoing contempt of court case?

     I would be grateful for a response by 10pm UK time (6pm EDT) today.

     Many thanks,
     Josh
     --
     Josh Halliday
     North of England correspondent
     Guardian News & Media
     -----
     josh.halliday@theguardian.com
     -----
     twitter: @joshhalliday
     ------




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     London N1 9GU
     theguardian.com
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   EXHIBIT 122
Message from G. Igler
     to Plaintiff
                   Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 26 of 37
447729111570@s.whatsapp.net George Igler

Are you departing home or staying until the bitter end a week from today?
Status: Read
Platform: Mobile

                                                                             5/16/2019 2:55:03 AM(UTC-4)




                                                                                                    From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                                    To: 447729111570@s.whatsapp.net George Igler

                                                                                                    I landed yesterday

                                                                                                       Participant     Delivered    Read            Played
                                                                                                       447729111570 5/16/2019
                                                                                                       @s.whatsapp. 4:41:36
                                                                                                       net George   AM(UTC-4)
                                                                                                       Igler


                                                                                                    Status: Sent
                                                                                                    Platform: Mobile

                                                                                                                                       5/16/2019 4:41:32 AM(UTC-4)




447729111570@s.whatsapp.net George Igler

Enjoy the return to sanity. Noticed a few of the campaign vids the other day and saw you
front-and-centre.
Status: Read
Platform: Mobile

                                                                                             5/16/2019 4:45:21 AM(UTC-4)




447729111570@s.whatsapp.net George Igler

I’m forecasting that TR will face more police harassment against his legal campaign efforts
as predict that to try and save her doomed premiership Theresa May will launch a last-ditch
empty campaign on Islamic issues. Hence she wants TR out of that rhetorical territory.
Status: Read
Platform: Mobile

                                                                                              5/16/2019 4:45:42 AM(UTC-4)




447729111570@s.whatsapp.net George Igler

https://www.buzzfeed.com/amphtml/alexwickham/theresa-may-will-reject-calls-by-muslim-
groups-to-define
Attachments:




 Title: Theresa May Will Reject Calls By Muslim Groups To Define Islamophobia As A Type Of Racism
 Size: 0
 (Empty File)

Status: Read
Platform: Mobile

                                                                                           5/16/2019 4:46:48 AM(UTC-4)




                                                                                                                                                                     28
Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 27 of 37
                From: 12159102154@s.whatsapp.net Lisa (owner)
                To: 447729111570@s.whatsapp.net George Igler

                I tried to stay behind the scenes. Do you know where you saw that. I got this today from
                the guardian.

                   Participant           Delivered                   Read                      Played
                   447729111570@s.what 5/16/2019 5:04:25
                   sapp.net George Igler AM(UTC-4)


                Status: Sent
                Platform: Mobile

                                                                                            5/16/2019 5:04:03 AM(UTC-4)




                                                 From: 12159102154@s.whatsapp.net Lisa (owner)
                                                 To: 447729111570@s.whatsapp.net George Igler
                                                 Attachments:




                                                     Size: 154138
                                                     File name: acdb4470-11de-4bcc-a2a9-24046e1e781c.jpg
                                                     Path: https://mmg-
                                                     fna.whatsapp.net/d/f/AvDlt7wGnK4xwYsFmQKG5G3zhXVuH0WKuHpOKES0vf3X.enc
                                                     acdb4470-11de-4bcc-a2a9-24046e1e781c.jpg


                                                      Participant      Delivered        Read            Played
                                                      447729111570 5/16/2019
                                                      @s.whatsapp. 5:04:25
                                                      net George   AM(UTC-4)
                                                      Igler


                                                 Status: Sent
                                                 Platform: Mobile

                                                                                            5/16/2019 5:04:17 AM(UTC-4)




                                                 From: 12159102154@s.whatsapp.net Lisa (owner)
                                                 To: 447729111570@s.whatsapp.net George Igler

                                                 I wrote this to Daniel and Gregg

                                                      Participant      Delivered        Read            Played
                                                      447729111570 5/16/2019
                                                      @s.whatsapp. 5:04:55
                                                      net George   AM(UTC-4)
                                                      Igler


                                                 Status: Sent
                                                 Platform: Mobile

                                                                                            5/16/2019 5:04:53 AM(UTC-4)




                                                                                                                             29
                   Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 28 of 37
                                                                      From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                      To: 447729111570@s.whatsapp.net George Igler
                                                                      Attachments:




                                                                       Size: 131676
                                                                       File name: e396e6a2-5b66-4564-b3a3-5353bf551930.jpg
                                                                       Path: https://mmg-
                                                                       fna.whatsapp.net/d/f/AqWZmveT3wKAWGX2NZk7zjYdQWTjq41XxF1cNo5csxeo.enc
                                                                       e396e6a2-5b66-4564-b3a3-5353bf551930.jpg


                                                                         Participant       Delivered         Read              Played
                                                                         447729111570 5/16/2019
                                                                         @s.whatsapp. 5:04:59
                                                                         net George   AM(UTC-4)
                                                                         Igler


                                                                      Status: Sent
                                                                      Platform: Mobile

                                                                                                                  5/16/2019 5:04:57 AM(UTC-4)




447729111570@s.whatsapp.net George Igler

The “present on the campaign trail for two weeks” means of course they’ve got someone
embedded.

Very wise to have a piece of paper from the MEF confirming you were on vacation. It’s the
classic Marxist “false consciousness” fantasy that they will not let go of.

The working class can’t possibly be smart enough to make up their own minds, there have
to be dark forces funding and steering it all.
Status: Read
Platform: Mobile

                                                                  5/16/2019 5:11:27 AM(UTC-4)




                                                                      From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                      To: 447729111570@s.whatsapp.net George Igler
                                                                      Attachments:




                                                                       Size: 85009
                                                                       File name: 15e3baef-196e-4252-b2ad-2aa5147d26a0.jpg
                                                                       Path: https://mmg-fna.whatsapp.net/d/f/AmXcZ8OEU_WwEfKfdOD18zzf-
                                                                       ENg1S5JApdKDY_9fHlL.enc
                                                                       15e3baef-196e-4252-b2ad-2aa5147d26a0.jpg


                                                                         Participant       Delivered         Read              Played
                                                                         447729111570 5/16/2019
                                                                         @s.whatsapp. 5:13:06
                                                                         net George   AM(UTC-4)
                                                                         Igler


                                                                      Status: Sent
                                                                      Platform: Mobile

                                                                                                                  5/16/2019 5:13:04 AM(UTC-4)




                                                                                                                                                30
                   Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 29 of 37
                                                                        From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                        To: 447729111570@s.whatsapp.net George Igler
                                                                        Attachments:




                                                                         Size: 63314
                                                                         File name: d96b5099-a3d1-4439-b268-123481b7c0f2.jpg
                                                                         Path: https://mmg-
                                                                         fna.whatsapp.net/d/f/Aq7EZE3v6jxWP9vu65XWoWfUUDo57rBaU_UY9SpyrodQ.enc
                                                                         d96b5099-a3d1-4439-b268-123481b7c0f2.jpg


                                                                           Participant     Delivered        Read             Played
                                                                           447729111570 5/16/2019
                                                                           @s.whatsapp. 5:13:09
                                                                           net George   AM(UTC-4)
                                                                           Igler


                                                                        Status: Sent
                                                                        Platform: Mobile

                                                                                                                 5/16/2019 5:13:07 AM(UTC-4)




447729111570@s.whatsapp.net George Igler

_The name rings a bell though. “Josh Halliday.” This was a lifetime ago for me. But ask
Tommy about him is my gut instinct. I suspect this Guardian scumbag has a history._
Status: Read
Platform: Mobile

                                                                    5/16/2019 5:13:12 AM(UTC-4)




                                                                        From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                        To: 447729111570@s.whatsapp.net George Igler

                                                                        He is. He wrote a story on me before

                                                                           Participant     Delivered        Read             Played
                                                                           447729111570 5/16/2019
                                                                           @s.whatsapp. 5:13:30
                                                                           net George   AM(UTC-4)
                                                                           Igler


                                                                        Status: Sent
                                                                        Platform: Mobile

                                                                                                                 5/16/2019 5:13:29 AM(UTC-4)




447729111570@s.whatsapp.net George Igler

What I’m getting at is that you needn’t chide yourself for letting yourself appear on camera
by accident.

The “two weeks” bit in their email gives the game away, that they’ve got intel, probably from
whoever HOPE not Hate put into Tommy’s campaign.

So, you could have stayed in your hotel room nailed to a laptop and not gone outside, and
the Guardian still would have sent this sort of enquiry.
Status: Read
Platform: Mobile

                                                                    5/16/2019 5:18:15 AM(UTC-4)




                                                                                                                                                 31
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                                                                                         From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                         To: 447729111570@s.whatsapp.net George Igler

                                                                                         I’m worried pipes will be mad.

                                                                                            Participant        Delivered          Read         Played
                                                                                            447729111570 5/16/2019
                                                                                            @s.whatsapp. 5:19:15
                                                                                            net George   AM(UTC-4)
                                                                                            Igler


                                                                                         Status: Sent
                                                                                         Platform: Mobile

                                                                                                                                     5/16/2019 5:19:14 AM(UTC-4)




                                                                          From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                          To: 447729111570@s.whatsapp.net George Igler

                                                                          But who cares. The cause is far more important to me

                                                                             Participant                Delivered          Read              Played
                                                                             447729111570@ 5/16/2019 5:19:35
                                                                             s.whatsapp.net AM(UTC-4)
                                                                             George Igler


                                                                          Status: Sent
                                                                          Platform: Mobile

                                                                                                                                     5/16/2019 5:19:34 AM(UTC-4)




447729111570@s.whatsapp.net George Igler

I wouldn’t be worried. Though he would likely throw his own mother under a bus to preserve
his 501(c)(3) you followed the right protocols and that’s all that matters.

In my little contact with him he combines an academic brain with being reasonably worldly
wise,
so will likely shrug off this bullshit from The Guardian as exactly what was to be expected
anyway.
Status: Read
Platform: Mobile

                                                                                 5/16/2019 5:21:48 AM(UTC-4)




447729111570@s.whatsapp.net George Igler
Attachments:




 Title: All you’re missing is the trident.
 Size: 71185
 File name: 00dd6c0f-d8f7-48ed-aa4c-6a316284a1d6.jpg
 Path: https://mmg-
 fna.whatsapp.net/d/f/At7he10VPlIG0cjU40db0m_XEuc89gPkyO2XlJfIulIG.enc
 00dd6c0f-d8f7-48ed-aa4c-6a316284a1d6.jpg

Status: Read
Platform: Mobile

                                            5/16/2019 5:27:37 AM(UTC-4)




                                                                                                                                                                   32
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     EXHIBIT 123
    Guardian Article
      Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 32 of 37




'Punches, attacks, milkshakes': inside the Tommy Robinson campaign




As the far-right activist fights to become an MEP, the Guardian learns new details of
his modus operandi and support network
Josh Halliday and Simon Murphy

Fri 17 May 2019 11.43 EDT
A Drone hovers high above the crowd on a Wigan housing estate. About 300 men, women and
children are gathered before a mobile billboard on a sun-drenched spring evening. A cheer erupts
when the main speaker arrives.

Waving a St George’s flag, Tommy Robinson wants the crowd to send a deafening message to
“treacherous politicians” and vote him into the European parliament on 23 May. “I am one of
you,” he shouts across the estate. “They don’t breathe the same air as us. They do not care about
us. But I can guarantee you: I am one of you.”

The far-right anti-Islam activist, whose real name is Stephen Yaxley-Lennon, has delivered the
same speech countless times on a chaotic and ugly campaign across the north-west of England.
On the Norley Hall estate, one of Wigan’s most deprived neighbourhoods, Robinson addressed
one of his biggest crowds of the tour.

“Right now, can anyone say our country is going in the right direction?” he asks. “No, it’s
turning into fucking Tehran!” shouts back an activist handing out flyers and membership forms
for the far-right party For Britain. Although Robinson is officially an independent candidate, and
an adviser to the Ukip leader, Gerard Batten, For Britain has pledged its support to his campaign.

There has been a more surprising presence at Robinson’s rallies, however: Lisa Barbounis, a
senior executive of the conservative US thinktank the Middle East Forum, has been a central
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figure on Robinson’s campaign team and present at many of his rallies, the Guardian has learned.
Her exact role is unclear but Barbounis, who says she has worked on several Republican
campaigns including John McCain’s run for president in 2008, has been on the trail with
Robinson for about a fortnight. The Philadelphia-based group, which is well funded by a number
of US rightwing donors, says its goal is to defend “anti-Islamist authors” and last year spent tens
of thousands of pounds on Robinson’s demonstrations and legal fees when he was jailed for
contempt of court.




Lisa Barbounis at a Tommy Robinson rally in Warrington. Photograph: Joel Goodman/The Guardian

The Middle East Forum said it continued to pay Robinson’s legal fees but had not contributed to
his campaign, which would be in breach of electoral law. It said Barbounis was “on vacation in
the UK” and spending her “personal time and personal expense” on the campaign.

There has been outside help, too, from Robinson’s former employer, the rightwing Canadian
website Rebel Media, which said this week that it had paid for the Israeli-Australian
commentator Avi Yemini to fly from Melbourne to cover his campaign. Yemini, who was
recently denied entry to the US, has described Islam as a “barbaric ideology” that has taken over
England and called Muslim countries “Islamic shitholes”. Yemini is little known in the UK but
has been ever-present at Robinson’s rallies, often as a warm-up act on stage or in videos taking
aim at critics of the would-be MEP. His recent videos promoting Robinson include “PROOF:
Tommy Robinson PROTESTORS are just PAID thugs” and “CONFIRMED: Tommy Robinson
‘protestors’ are cowards”.

Robinson’s international supporters stand in stark contrast to the deprived estates of Manchester,
Stockport, Bolton, Cumbria and Wigan where he has focused his campaign, drawing crowds of
between 50 and 300. Political rivals are split on whether he has a genuine chance.

If turnout is low, he may need just 8% of the vote to be the first MEP in Britain elected as an
independent – a possibility keenly apparent to the main political parties, which recall the election
of the BNP’s Nick Griffin in the north-west with just 8% of the vote in 2009.

“He will do very badly – he’s not got a chance of being elected,” said one MEP privately.
Another believed he could win if Brexit-weary voters decided to stay at home: “One of the
biggest worries is apathy – people saying they’re not going to vote.” Those fears – that a low
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turnout could help anti-European insurgents – are echoed across the continent amid forecasts of
historic gains by populist parties such as Nigel Farage’s Brexit party.

The election of Tommy Robinson MEP would cap a once-unthinkable rise for the convicted
football thug, who started leading nationalist street protests in his hometown of Luton a decade
ago. He became a global cause célèbre for the far right last year when he was imprisoned for
three months over a broadcast that allegedly risked prejudicing a child sexual exploitation trial in
Leeds – a conviction that was eventually overturned but will be retried at the Old Bailey in July.
While Robinson regularly complains of being smeared as a racist and a Nazi, he has been filmed
saying things like: “Somalis are backward barbarians”; British Muslims are “enemy combatants
who want to kill you, maim you and destroy you”; and refugees are “raping their way through
the country”.

In remarks unearthed by the Guardian, Robinson told a meeting of far-right activists in Cork in
2016 that the west was “too weak to say our culture is superior to Muslim culture” and – in
comments picked up off-camera – told one rightwing campaigner it was fine to use violence
against counter-protesters as long as it was not on camera. “If the cameras aren’t there, fucking
punch the geezers right in the head,” he said, adding that being seen to be aggressive “just turns
people off”. “You want to be seen as the victims – people viewing you like: ‘Fucking hell, look
how they’re getting treated. Give them a chance’ – you know what I mean?” The unguarded
remarks were made during filming for an RTÉ documentary, I Am Immigrant, which has never
aired in Britain.
Robinson’s chequered history with the law does not prevent him standing for the European
parliament. The 37-year-old father of three has at least five convictions for violence and public
order offences from 2005 to 2014, and has served prison sentences for using a false passport and
a £160,000 mortgage fraud.
On his campaign trail, Robinson has been surrounded almost permanently by a security team and
his own film crew. He is keenly aware he will be scrutinised whenever he is on camera – but the
mask occasionally slips.

The footage of Robinson being doused with milkshake in Warrington became a viral sensation.
In the aftermath, he could be seen throwing a volley of punches at the assailant, who Robinson’s
team pounced on. The incident sparked chaotic scenes, currently being investigated by Cheshire
police, when two anti-racism protesters were punched to the ground leaving them needing
hospital treatment. Alice Edwards, one of the victims, said she was punched in the face by
Danny Thomas, Robinson’s campaign organiser, and suffered a broken nose. Thomas has not
denied the incident but claimed Edwards was “attacking our team”, which she disputes.

The Guardian has learned that the man who filmed the milkshake incident has been receiving
police protection after a far-right activist threatened to pass his and his parents’ contact details
and address to “the most far-right groups online”. Police placed an urgent response marker on the
homes of David, who was afraid to give his surname, and his father following threats made
online by a former BNP parliamentary candidate. The 31-year-old bar worker, from Wigan, said:
“I’ve been told by police to keep my door locked and get a basket for my letterbox in case
someone tried to put anything fire-related through it. It’s quite intimidating.”
Robinson was quick to use the milkshake incident to rile his supporters. In a video later that day
to his 40,000 followers on the encrypted app Telegram, where he was forced to turn after being
banned by the major social networks, Robinson claimed he was “politically targeted … and the
police have done fuck all”, urging viewers to “get angered with what they’re watching”. He
added at the end of the clip: “Ah mate, I so wanna win this. No amount of punches, milkshakes,
attacks or anything’s gonna stop me. I’m coming to every city …”

After posting the video, he wrote on Telegram: “Shake it up baby! Comments here.” His
followers responded with more than 700 comments, including many that attacked Muslims
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including referring to the milkshake-thrower as a “paki”. One user wrote: “Muslims need
eradicating from UK probably sounds a bit harsh but they have raped this country and its citizens
for the last 30 years disgusting uk gov corrupt paedophiles.”

Another commenter called Muslims “cowards” and “inbreds”. A supporter also said they were
“sick of these Islamic appeasing left extremist groups” which he said were “all funded by Soros”,
referencing the Jewish financier George Soros, who is often the target of antisemitism. Another
follower said the man who threw the drink represented “spot on the attitude of the typical
Muslim teenager throughout the UK, absolutely zero respect”.

In response to a series of questions from the Guardian, Robinson said: “You are fake news.”

While he does not acknowledge responsibility for his supporters’ behaviour, on the campaign
trail he has sometimes revelled in their shared agenda. “I am one of you,” he told supporters on
the Norley Hall estate. “I’ve made mistakes like all of you. I’ll make more … [but] I can
guarantee you one thing: we are building a movement.”
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     EXHIBIT 124
     Message from
 Plaintiff to S. Watson
                   Case 2:19-cv-05030-JDW Document 111-4 Filed 03/02/21 Page 37 of 37
61430991603@s.whatsapp.net Sydney Watson

100%
Status: Read
Platform: Mobile

                                 5/18/2019 6:02:22 AM(UTC-4)




                                      From: 12159102154@s.whatsapp.net Lisa (owner)
                                      To: 61430991603@s.whatsapp.net Sydney Watson

                                      Do you know how many times him and everyone else told me to stay away from Tommy
                                      robinson but I love it. I do what I want.

                                           Participant                 Delivered              Read                      Played
                                           61430991603@s.whatsa                               5/18/2019 6:02:36
                                           pp.net Sydney Watson                               AM(UTC-4)


                                     Status: Sent
                                     Platform: Mobile

                                                                                                                      5/18/2019 6:02:35 AM(UTC-4)




61430991603@s.whatsapp.net Sydney Watson

I'm one of those people who will smash away st things until something gives
Status: Read
Platform: Mobile

                                                                5/18/2019 6:02:36 AM(UTC-4)




                                               From: 12159102154@s.whatsapp.net Lisa (owner)
                                               To: 61430991603@s.whatsapp.net Sydney Watson

                                               I don’t think Candace Owens is worried about her next job after working with turning
                                               point

                                                  Participant               Delivered            Read                    Played
                                                  61430991603@s.what                             5/18/2019 6:02:49
                                                  sapp.net Sydney                                AM(UTC-4)
                                                  Watson


                                              Status: Sent
                                              Platform: Mobile

                                                                                                                      5/18/2019 6:02:48 AM(UTC-4)




61430991603@s.whatsapp.net Sydney Watson

She's huge though
Status: Read
Platform: Mobile

                                 5/18/2019 6:02:57 AM(UTC-4)




                                                From: 12159102154@s.whatsapp.net Lisa (owner)
                                                To: 61430991603@s.whatsapp.net Sydney Watson

                                                She was getting big and then she went with turning point And They took her on the
                                                road

                                                    Participant              Delivered            Read                    Played
                                                    61430991603@s.what 5/18/2019 6:03:19          5/18/2019 6:03:24
                                                    sapp.net Sydney    AM(UTC-4)                  AM(UTC-4)
                                                    Watson


                                                Status: Sent
                                                Platform: Mobile

                                                                                                                      5/18/2019 6:03:18 AM(UTC-4)




                                                                                                                                                    179
